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                    IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERI\ DIVISION

CYNTHIA VANN-FOREMAN,

               Plaintiff,                            Civil Action No.   17   CY 2774

       v.                                            Hon. Charles R. Norgle

CANADIAN NATIONAL RAILWAY,

               Defendant.



                                             ORDER

Plaintifls complaint I1l is dismissed without prejudice. Plaintiffs In Forma Pauperis
Application and Financial Affidavit [4] is denied without prejudice. Plaintifls Motion for
Attorney Representation [5] is denied without prejudice.

                                         STATEMENT

         Pro se Plaintiff Cynthia Vann-Foreman ("Plaintiff') attempts to sue her former employer
Canadian National Railway ("Defendant") by submitting the district court's form complaint for
alleged constitutional violations. For the following reasons, Plaintiff s complaint is dismissed
without prejudice. Likewise, her informa pauperis application and motion for an appointed
attorney are also denied without prejudice.
         The Court is required to screen civil complaints docketed without payment of the Court's
filing fee. See 28 U.S.C. $ 1915(A). As Plaintiff s complaint is written now, it fails to state a
claim upon which relief may be granted. See 28 U.S.C. $ l9l5(e)(2)(B). Plaintiff alleges that
Defendant terminated her for violating general locomotive operating rules, but never told her
which rule or rules. Plaintiff has not alleged how Defendant's act of terminating her was "'fairly
attributable to the state"'or some government entity. L.P. v. Marian Catholic Hieh School, 852
F.3d 690 (7th Cir. March 29,2017) (quoting Lusar v. Edmonson Oil Co., 457 U.S. 922,937
(1982)). Another deficiency is that Plaintiff checks the box to allege a conspiracy, but only
names the single business entity. Therefore, Plaintiff s complaint is dismissed without prejudice.
         Plaintiff s claims appears to be best-suited for the district's form complaint titled
"Complaint of Employment Discrimination." Plaintiff can find this form on the "Pro Se
Litigants" section of the district court's website or by contacting The Honorable William J.
Hibbler Pro Se Assistance Program. The Hibbler Help Desk may be reached by visiting the
Clerk's Office Intake Desk on the 20th floor of the Everett McKinley Dirksen United States
Courthouse located at2l9 South Dearborn Street or by callingQl2) 435-5691.
         Plaintiff s informa pauperis application and motion for attorney representation are also
denied without prejudice, which means that she is granted leave to refile them with an amended
complaint. Plaintiff is warned that "[p]roceeding informa pauperis is a privilege, and courts
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depend on the   plaintiff s honesty in assessing her ability to pay. Abusing this privilege warrants
dismissal with prejudice as a sanction for lying." Lofton v. SP Plus Com., 578 F. App'x 603,604
(7th Cir. 2014); see also Mathis v. N.Y. Life Ins. Co., 133 F.3d 546,547 (7th Cir. 1998) (en
banc) (failure to truthfully answer all of the questions on the financial affidavit is grounds for
dismissal under 28 U.S.C. $ 1915(e)(2XA)). When submitting an amended financial affidavit,
Plaintiff should take great care in answering all the questions truthfully.
        For the foregoing reasons, Plaintiff s current complaint is dismissed without prejudice,
and she is granted leave to refile his claim on the appropriate form complaint.
        IT IS SO ORDERED.




                                              CHARLES RONALD NOR
                                              United States District Court

DATE: April20,20l7
